Case 1:04-CV-10305-I\/|LW Document 13 Filed 01/07/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT _ _  
DISTRICT OF MASSACHUSETTS `

 

SERONO, INC. and INDUSTRIA

FARMACEUTICA sERoNo spA,

FERRING PHARMACEUTICALS, INC.,

Plaintiffs,
CIVIL ACTION NO. 04-10305 MLW
v.

Defendant.

 

 

STIPULATION OF DISMISSAL

The Plaintiffs, Serono, Inc. and Industria Farmaceutica Serono, SpA, (collectively

referred to as “Serono”) and Defenda.nt, Ferring Pharmaceuticals, Inc. (“Ferring”) hereby
stipulate and agree that:

1

ALL OF FERRING’S CLAIMS (WHETHER DESIGNA TED AS CLAIMS,
COUNTERCLAIMS, OR AFFIR]|M TII/E DEFENSES) SHALL BE DISMISSED
WITHPREJUDICE, WITHOUT COSTS, AND WITHALL APPEALS WAIVED;

SERONO’S CLAIMS FOR INFRINGEMENT 0F THE PA TENTS-IN-SUIT (UNITED
STATES LETTERS PATENT NO. 5,767,067 AND NO. 4,725,579) BY FERRING
(WHETHER DESIGNATED AS CLAIMS, COUNTERCLAIMS, OR AFFIRMATIVE
DEFENSES) SHALL BE DISMISSED WITH PREJUDICE, WITHOUT COSTS, AND
WITHALL APPEALS WAIVED; AND

SERONO’S CLAIMS SEEKING A DECLARATION OR JUDGMENT THAT THE
PATENTS-IN-SUIT (UNITED STA TES LETTERS PATENT NO. 5, 767,067 AND NO.
4,725,579) ARE VALID AND/OR ENFORCEABLE (WHETHER DESIGNA TED AS
CLAIMS, COUNTERCLAIMS, OR AFFIMATIVE DEFENSES) SHALL BE
DISMISSED WITHOUTPREJUDICE AND WITHOUT COSTS.

 

 

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Serono, Inc. and
Industria Farmaceutica Serono SpA
By its Attomeys,

QMQ ix `PQMM/}¢

Fred A. Kelly, Jr. (BBO # 544))#¢’)
NIXON PEABODY LLP

100 Summer Street

Boston, MA 02110-1832

Ph: (617) 345-1000

Fax; (617) 345-1300

Dated: 59152 fn BOO:)

Ferring Phannaceuticals, Inc.
By its attomeys,

Michael T. Gass (BBO#546874)
Palmer & Dodge, LLP

1 1 l Huntington Avenue

Boston, MA 02199

Ph: 617-239-0100

Dated:

 

